Case: 1:02-cr-00854 Document #: 63 Filed: 06/20/06 Page 1 of 1 Page|D #:97

U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF lLLINOIS
ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good
standing of this Court’s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.

 

In the Matter of Case Number: 02 CR 854-l
United States of America v. Jerome Bass

AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:

Jerome Bass, Defendant

 

NAME (Type or print)
Lori E. Lightfoot

 

SIGNATURE (Use electronic signature if the appearance form is filed electronically)
S/ Lori E. Lightfoot

 

FIRM
Mayer, Brown, Rowe & Maw LLP

 

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ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS) TELEPHONE NUMBER

 

 

 

 

6202202 312-701-8680

ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE? YES- NO[:|
ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE? YES [:l NO-
ARE YOU A MEMBER OF THIS COURT’S TRIAL BAR? YES- NO[:|

 

IF THIS CASE REACHES TRIAL, WlLL YOU ACT AS THE TRIAL ATTORNEY? YES- NO[:|

 

 

IF TI~HS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.

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